          3:16-cr-30035-SEM-TSH # 1       Page 1 of 6
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                                                              Thursday, 07 July, 2016 09:09:10 AM
                                                                    Clerk, U.S. District Court, ILCD
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                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS                              JUL 0 6 2016
                          SPRINGFIELD DIVISION                             CLERK OF THE COURT
                                                                            U.S. DlSTRICT COURT
                                                                        CENTRAL DISTRICT OF ILLINOIS
UNITED STATES OF AMERICA,             )
                                      )
             Plaintiff,               )                 Criminal No. 16-CR-3 00    35
                                      )
             v.                       )
                                      )                 VIO: 18 U.S.C. § 1341
REBECCA SHOE                          )
                                      )
                                      )
             Defendant.               )

                                 INDICTMENT

THE GRAND JURY CHARGES:

                                   COUNTl
                                  (Mail Fraud)

                                 BACKGROUND

     1.      Knapheide Manufacturing Company (Knapheide) is a corporation

  located in Quincy, Illinois.

     2.      On or about July 19, 2004, Rebecca Shoe began working for

  Knapheide as a human resources and accounting manager.

     3.      In or about 2009, Rebecca Shoe became a "remote" employee for

  Knapheide based out of North Carolina.




                                            1
            Case 5:20-cr-00101-D Document 1-2 Filed 02/25/20 Page 1 of 6
        3:16-cr-30035-SEM-TSH # 1     Page 2 of 6




   4.      As a remote employee Shoe's duties included traveling to different

Knapheide offices in the United States to assist in setting up those new

regional offices.

   5.      In order to be reimbursed for travel related expenses such as airfare,

hotels and rental cars, Shoe submitted weekly expense reports and provided

receipts for expenses incurred.

   6.      Shoe also had access to company issued credit cards and petty cash

located in the regional company offices.

   7.      On or about December 1, 2012 through May 15, 2015, Shoe used

company credit cards and petty cash to purchase personal expenses including

merchandise from Amazon.com, Home Depot and to pay her residential

electric bill with South River EMC.

   8.      As part of a scheme and artifice to defraud Knapheide, beginning on

or about December 1, 2012 through May 15, 2015, Rebecca Shoe submitted

expense reports with altered receipts.

   9.      Shoe altered receipts by changing the paymen~ method on the

receipts to reflect payments using her personal credit cards instead of the

company credit card.




                                        2
          Case 5:20-cr-00101-D Document 1-2 Filed 02/25/20 Page 2 of 6
     3:16-cr-30035-SEM-TSH # 1        Page 3 of 6




   10.    Shoe submitted the altered receipts with her expense reports to

Knapheide and received reimbursements for payments she had not in fact

placed on her personal credit card.

   11.    Through Shoe's scheme to defraud, Shoe obtained at least $70,000.00

from Knapheide in the form of checks and use of the company's credit cards

and petty cash.

   12.    On or about February 20, 2014, in the Central District of Illinois, and

elsewhere,

                              REBECCA SHOE,

the defendant herein, for the purpose of executing said scheme did knowingly

cause to be delivered by the United States mail, according to the direction

thereon, an envelope mailed from Knapheide, a company headquartered in

Quincy, Illinois, which was a check number 157121 in the amount of

$3,028.08, from Knapheide for expenses which were inflated beyond the

actual expenses incurred.

   All in violation of Title 18, United States Code, Section 1341.




                                   3
         Case 5:20-cr-00101-D Document 1-2 Filed 02/25/20 Page 3 of 6
          3:16-cr-30035-SEM-TSH # 1     Page 4 of 6




THE GRAND JURY FURTHER CHARGES:

                                     COUNT2
                                    (Mail Fraud)

     1.      The grand jury realleges and reaffirms the allegations in Count 1

  and paragraphs 1through9 of this indictment as through fully set forth

  herein.

     2.      On or about July l, 2014, in the Central District of Illinois, and

  elsewhere,

                                 REBECCA SHOE,

  the defendant herein, for the purpose of executing said scheme did knowingly

  cause to be delivered by the United States mail, according to the direction

  thereon, an envelope mailed from Knapheide, a company headquartered in

  Quincy, Illinois, which was a check number 167607 in the amount of

  $2,529.39, from Knapheide for expenses which were inflated beyond the

  actual expenses incurred.

     All in violation of Title 18, United States Code, Section 1341.




                                          4
            Case 5:20-cr-00101-D Document 1-2 Filed 02/25/20 Page 4 of 6
          3:16-cr-30035-SEM-TSH # 1     Page 5 of 6




THE GRAND JURY FURTHER CHARGES:

                                    COUNT3
                                   (Mail Fraud)

     1.      The grand jury realleges and reaffirms the allegations in Count 1

  and paragraphs 1 through 9 of this indictment as through fully set forth

  herein.

     2.      On or about October 1, 2014, in the Central District of Illinois, and

  elsewhere,

                                 REBECCA SHOE,

  the defendant herein, for the purpose of executing said scheme did knowingly

  cause to be delivered by the United States mail, according to the direction

  thereon, an envelope mailed from Knapheide, a company headquartered in

  Quincy, Illinois, which was a check number 174928 in the amount of

  $2,417.70, from Knapheide for expenses which were inflated beyond the

  actual expenses incurred.

     All in violation of Title 18, United States Code, Section 1341.




                                          5
            Case 5:20-cr-00101-D Document 1-2 Filed 02/25/20 Page 5 of 6
             3:16-cr-30035-SEM-TSH # 1    Page 6 of 6




                                               s/ Foreperson
s/ John E. Childress




                Case 5:20-cr-00101-D Document 1-2 Filed 02/25/20 Page 6 of 6
